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 7
                                    UNITED STATES DISTRICT COURT
 8                                       DISTRICT OF NEVADA
 9   SADE GREENE,                                         Case No.: 2:21-cv-00466-JCM-DJA
10
                      Plaintiff,
11             vs.                                        STIPULATION TO STAY
                                                          DISCOVERY
12   EQUIFAX INFORMATION SERVICES, LLC;
13   TRANS UNION, LLC; EXPERIAN
     INFORMATION SOLUTIONS, INC.;
14   SELF FINANCIAL, INC., d/b/a LEAD BANK;
     DOMINION ENERGY, INC.; ATLANTIC
15   CAPITAL BANK, N.A.; ACCEPTANCE NOW,
16
                      Defendants.
17
18             Pursuant to F.R.C.P. 26(c), Plaintiff, Sade Greene (“Plaintiff”), Defendant Dominion
19   Energy South Carolina, Inc., erroneously named as Dominion Energy, Inc. (“DESC”),1 and
20   Defendant Equifax Information Services, LLC, (collectively the “Parties”), by and through their
21   counsel of record, hereby stipulate and agree as follows:
22             On March 23, 2021, Plaintiffs filed their Complaint [ECF No. 1].
23             On October 22, 2021, DESC filed a Motion for Judgment on the Pleadings [ECF No. 42].
24             WHEREAS, the Parties hereby stipulate and agree that discovery is stayed until the
25   resolution of DESC’s pending Motion for Judgment on the Pleadings [ECF No. 42]. In the event
26   the Court enters an order denying the Motion for Judgment on the Pleadings, the Parties will
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     1
         DESC owns and services the account-at-issue and, thus, is the proper Defendant to this action.


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 1   have fifteen (15) days from the Court’s entry of the order denying dismissal to submit a new
 2   Stipulated Discovery Plan and Scheduling Order.
 3          DATED this 8th day of November, 2021.
 4
      WRIGHT, FINLAY & ZAK, LLP                          CONTEMPORARY LEGAL SOLUTIONS
 5                                                       PLLC
 6    /s/ Ramir M. Hernandez                             /s/ Robert M. Tzall

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13
14    /s/ Jeremy J. Thompson

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17    Las Vegas, NV 89169
      Attorneys for Defendant Equifax Information
18    Services LLC
19
20                                                       IT IS SO ORDERED:

21
                                                         ___________________________________
22                                                       UNITED STATES MAGISTRATE JUDGE
23                                                                November 9, 2021
                                                         DATED: _________________________
24
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